                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:04CR274

UNITED STATES OF AMERICA                          )
                                                  )
               vs.                                )
                                                  )                   ORDER
Vinh Phy Huynh                         (3)        )
Phuong The Truong                      (10)       )
Stephen Roy Oxendine                   (15)       )
Loc Ba Vu                              (16)       )
Sinal Puth                             (18)       )
David Pham Nguyen                      (19)       )


       THIS MATTER is before the court on it own motion to set a status conference.

        IT IS HEREBY ORDERED that a status conference is set for November 9, 2006, at
2:00 p.m. in Courtroom 3. The court intends to discuss the likelihood of settlement of any of
these defendants or whether all six defendants are going to trial. And, if so, how this matter will
be dealt with since we do not have facilities to try all of the defendants simultaneously.

       IT IS SO ORDERED.
                                                  Signed: October 19, 2006




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